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   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9    SOCIAL POSITIONING INPUT
        SYSTEMS, LLC,
  10
                     Plaintiff,                    CASE NO. 8:21-cv-01155-JLS-DFM
  11
              v.
  12                                               NOTICE OF VOLUNTARY
                                                   DISMISSAL WITH PREJUDICE
        ISHARINGSOFT, INC.,
  13
                     Defendant.
  14

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             Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby voluntarily dismisses
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       this action, with prejudice, with each party to bear its own fees and costs.
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       Dated: July 26, 2021                    Respectfully submitted,
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                                               /s/ Stephen M. Lobbin
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                                               Attorney(s) for Plaintiff
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  22                               CERTIFICATE OF SERVICE
  23
              I hereby certify that on July 26, 2021, I electronically filed the above document(s)
  24   with the Clerk of Court using CM/ECF which will send electronic notification of such
  25
       filing(s) to all registered counsel.

  26                                           /s/ Stephen M, Lobbin
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                            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
